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                         UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS


 STATE OF NEW YORK, et al.,

                       Plaintiffs,
                                                                   No. 25-cv-11221-WGY
                v.

 DONALD J. TRUMP, in his official capacity as
 President of the United States, et al.,

                       Defendants.


PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ MOTION FOR AN EXTENSION OF
 TIME TO FILE A RESPONSE TO MOTIONS FOR PRELIMINARY INJUNCTION

       Plaintiffs New York, Massachusetts, Arizona, California, Colorado, Connecticut,

Delaware, the District of Columbia, Illinois, Maine, Maryland, the People of the State of Michigan,

Minnesota, New Jersey, New Mexico, Oregon, Rhode Island, and Washington (the States) file this

opposition to Defendants’ motion for an extension of time (ECF 72) seeking six weeks to file a

response to the States’ and proposed Industry-Intervenor Alliance for Clean Energy New York’s

(ACE NY) motions for preliminary injunction.

                                 FACTUAL BACKGROUND

       In this case, the States challenge a Presidential Memorandum and federal agencies’

implementation of a section of that Memorandum (Wind Directive) to indefinitely halt federal

permitting of wind energy, a critical and growing source of energy generation for the States. See

Temporary Withdrawal of All Areas on the Outer Continental Shelf from Offshore Wind Leasing

and Review of the Federal Government’s Leasing and Permitting Practices for Wind Projects,

Section 2(a), 90 Fed. Reg. 8363 (Jan. 29, 2025). The States filed their Complaint on May 5, 2025

(ECF 1), alleging that the Wind Directive itself and the implementation of it by Agency Defendants

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are unlawful in multiple respects. Industry-Intervenor ACE NY filed a motion to intervene in this

matter on May 7, 2025 (ECF 23).

       The States and Movant Industry Intervenors each moved on May 12 for a preliminary

injunction (ECF 53, 55). The Defendants have now moved for six weeks to respond—three times

as long as the local rules allow. See D. Mass. Local. R. 7.1(b).

                                          ARGUMENT

       Defendants’ motion should be denied for two principal reasons: First, the States (and

movant Industry-Intervenor ACE NY) will suffer immediate irreparable harm absent preliminary

relief. Second, Defendants’ request for a six-week time period for filing a response is unreasonable

given the context of the motion and the federal government’s ability—as shown in similar cases—

to meet a much more expedited schedule.

       First, the States will experience irreparable harm without swift preliminary relief from this

Court. As detailed in the States’ motion for preliminary injunction and supporting memorandum

of law and declarations, Agency Defendants’ halt of wind-energy development will hinder the

States’ ability to secure reliable and affordable electricity; strand billions of dollars in States’

investments and impede economic development; obstruct the States’ abilities to meet their clean-

energy and climate goals; and delay reductions in emissions that harm public health. See States’

Memo of Law (ECF 70) at 9–18. Contrary to Defendants’ claim, Def. Mem. at 5, time is of the

essence as minor setbacks to wind-energy development can dramatically increase costs and delay

or even derail wind-energy development. States’ Memo of Law at 9. Indeed, last year Defendant

Department of Energy warned of “an inflection point[]” for the industry, noting that a: “[f]ailure

to build projects today would risk delaying cost reductions and extending risk exposure to the

longer-term project pipeline, freezing investments, and pushing an industry with . . . momentum



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into dormancy.” Jonah Ury et al., Pathways to Commercial Liftoff: Offshore Wind, U.S. Dep’t of

Energy, at 11 (Apr. 2024), https://perma.cc/A4KL-6Z3W. Moreover, the threat of these harms has

sharply mounted in recent weeks as Agency Defendants have stopped ongoing construction of one

fully permitted project and chilled investment in other wind-energy projects, now threatening the

very existence of the nascent offshore-wind industry in particular. States’ Memo of Law at 8–10.

Defendants’ proposed extension would delay disposition of the States’ motion by a month,

resulting in significant harm to the industry and States in turn.

       Second, Defendants’ requested extension is unreasonable given the federal government’s

ability—as shown in similar cases—to meet a much more expedited preliminary injunction

briefing schedule. Defendants cite several statistics that they argue warrant a six-week time for a

response here, including (1) the need to coordinate with 13 agencies, (2) the complaint cites

13 federal statutes, (3) the briefs filed total 79 pages, and (4) the scope of the relief in the States’

complaint could extend to 17 states. Def. Mem. (ECF 73) at 2–5. But in other cases of similar

scope, many of the same Defendants have met a much more expedited timetable—even shorter

than the two weeks provided under Local Rule 7.1(b)— for briefing a preliminary injunction.

       For example, the multistate challenge to the federal funding freeze, State of New York, et

al. v. Trump (D.R.I. No. 1:25-cv-00039-JJM-PAS), involved (1) more than two dozen federal

agencies, (2) had a complaint that cited many more than a dozen statutes, (3) had 70 pages in

opening briefing, and (4) involved potential relief in 22 states. See id., Doc. 114 (amended

complaint); Doc. 67 (70-page preliminary injunction motion filed 2/7/25). Yet there, the federal

defendants filed their brief within 5 days of the Plaintiffs’ motion. See id., Doc. 113 (defendants’

response filed 2/12/25); see also New York et al. v. Linda McMahon et al., No. 1:25-cv-10601-MJJ

(D. Mass.) (federal defendants filed opposition brief 21 days after plaintiff states filed 40-page



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brief in support of preliminary injunction motion); Massachusetts et al. v. Robert F. Kennedy, Jr.

et al., No. 1:25-cv-10814-WGY (D. Mass.) (29 federal defendants filed opposition brief 16 days

after plaintiff states filed 40-page brief in support of preliminary injunction motion).

       Nor does the timing of the filing of the States’ and Movant Industry Intervenors’

complaints warrant such a prolonged schedule. Def. Mem. at 6. As discussed in the State’s brief,

the injuries to the industry and the States did not manifest instantly, but significantly increased

over time, particularly in recent weeks, as Agency Defendants implemented the Wind Directive’s

halt on federal approvals. See States’ Memo of Law at 8–9. The States have promptly sought

preliminary relief to redress those mounting harms.

       For the foregoing reasons, the States respectfully request that the Court deny Defendants’

motion for an extension of time to file a response to the States’ and Industry Intervenor ACE NY’s

motions for preliminary injunction so that the case can move forward promptly with the

completion of briefing and preparation of the administrative record.

Respectfully submitted,                                               May 15, 2025


   LETITIA JAMES                                       ANDREA JOY CAMPBELL
     Attorney General of New York                        Attorney General of Massachusetts

   By: /s/ Michael J. Myers                            By: /s/ Turner H. Smith
   Michael J. Myers*                                   Turner H. Smith, BBO No. 684750
      Senior Counsel                                      Assistant Attorney General & Deputy Chief
   Laura Mirman-Heslin*                                Nathaniel Haviland-Markowitz**
   Rene F. Hertzog*                                       Assistant Attorney General
      Assistant Attorneys General                      Jonathan Whitney, BBO No. 694760
   Environmental Protection Bureau                        Special Assistant Attorney General
   The Capitol                                         Energy and Environment Bureau
   Albany, NY 12224                                    Office of the Attorney General
   (518) 776-2382                                      1 Ashburton Pl.
   Michael.Myers@ag.ny.gov                             Boston, MA 02108
                                                       (617) 963-2277
   Counsel for the State of New York                   Turner.Smith@mass.gov

                                                       Counsel for the Commonwealth of Massachusetts


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KRISTIN K. MAYES                                 ROB BONTA
  Attorney General of Arizona                      Attorney General of California

By: /s/ Mary M. Curtin                           By: /s/ Kate M. Hammond
Mary M. Curtin*                                  Kate M. Hammond*
   Senior Litigation Counsel                        Deputy Attorney General
Arizona Attorney General’s Office                Robert Swanson*
2005 North Central Avenue                           Acting Supervising Deputy Attorney General
Phoenix, AZ 85004                                Jamie Jefferson*
(602) 542-3333                                      Deputy Attorney General
Mary.Curtin@azag.gov                             Office of the Attorney General
                                                 300 South Spring Street, Suite 1702
Counsel for the State of Arizona                 Los Angeles, CA 90013
                                                 (213) 269-6531
                                                 Kate.Hammond@doj.ca.gov
                                                 Robert.Swanson@doj.ca.gov
                                                 Jamie.Jefferson@doj.ca.gov

                                                 Counsel for the State of California




PHILIP J. WEISER                                 WILLIAM TONG
  Attorney General of Colorado                    Attorney General of Connecticut

By: /s/ Carrie Noteboom                          By: /s/ Jill Lacedonia
Carrie Noteboom*                                 Jill Lacedonia*
   Assistant Deputy Attorney General                 Assistant Attorney General
Jessica L. Lowrey*                               165 Capitol Avenue
   First Assistant Attorney General              Hartford, CT 06106
Ralph L. Carr Judicial Center                    (860) 808-5250
1300 Broadway, 10th Floor                        Jill.Lacedonia@ct.gov
Denver, CO 80203
(720) 508-6288 (Noteboom)                        Counsel for the State of Connecticut
(720) 508-6167 (Lowrey)
Carrie.Noteboom@coag.gov
Jessica.Lowrey@coag.gov
FAX: (720) 508-6040

Counsel for the State of Colorado




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KATHLEEN JENNINGS                                BRIAN L. SCHWALB
  Attorney General of Delaware                    Attorney General of the District of Columbia

By: /s/ Ian R. Liston                            By: /s/ Estefania Y. Torres Paez
Ian R. Liston**                                  Estefania Y. Torres Paez, BBO No. 705952
  Director of Impact Litigation                     Assistant Attorney General
Vanessa L. Kassab**                              Office of the Attorney General
  Deputy Attorney General                        for the District of Columbia
Ralph Durstein III**                             400 6th Street, N.W., 10th Floor
  Deputy Attorney General                        Washington, D.C. 20001
Delaware Department of Justice                   Estefania.TorresPaez@dc.gov
820 N. French Street
Wilmington, DE 19801                             Counsel for the District of Columbia
(302) 683-8899
Ian.Liston@delaware.gov

Counsel for the State of Delaware


KWAME RAOUL                                      AARON M. FREY
 Attorney General of Illinois                      Attorney General of Maine

By: /s/ Jason E. James                           By: /s/ Robert Martin
Jason E. James*                                  Robert Martin*
   Assistant Attorney General                       Assistant Attorney General
Office of the Attorney General                   6 State House Station
Environmental Bureau                             Augusta, ME 04333
201 W. Pointe Drive, Suite 7                     (207) 626-8579
Belleville, IL 62226                             Robert.Martin@maine.gov
(217) 843-0322
Jason.James@ilag.gov                             Counsel for the State of Maine

Counsel for the State of Illinois



ANTHONY G. BROWN                                 DANA NESSEL
  Attorney General of Maryland                     Attorney General of Michigan

By: /s/ Steven J. Goldstein                      By: /s/ Lucas Wollenzien
Steven J. Goldstein*                             Lucas Wollenzien**
   Assistant Attorney General                    Michael Moody**
Office of the Attorney General of Maryland          Assistant Attorneys General
200 Saint Paul Place, 20th Floor                 Michigan Department of Attorney General
Baltimore, MD 21202                              P.O. Box 30755
(410) 576-6414                                   Lansing, MI 48909
sgoldstein@oag.state.md.us                       (517) 335-7627
                                                 WollenzienL@michigan.gov
Counsel for the State of Maryland                Moodym2@michigan.gov

                                                 Counsel for the People of the State of Michigan

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KEITH ELLISON                                        MATTHEW J. PLATKIN
  Attorney General for the State of Minnesota         Attorney General for the State of New Jersey

By: /s/ Catherine Rios-Keating                       By: /s/ Terel L. Klein
Catherine Rios-Keating*                              Terel L. Klein**
   Special Assistant Attorney General                  Deputy Attorney General
Environmental and Natural Resources Division         Office of the Attorney General
445 Minnesota Street, Suite 1800                     25 Market Street, 7th Floor
Saint Paul, MN 55101                                 Trenton, NJ 08625
(651) 300-7302                                       (609) 376-2818
Catherine.Rios-Keating@ag.state.mn.us                Terel.Klein@law.njoag.gov

Counsel for Plaintiff State of Minnesota             Counsel for the State of New Jersey


RAÚL TORREZ                                          DAN RAYFIELD
  Attorney General of New Mexico                       Attorney General of Oregon

By: /s/ William Grantham                             By: /s/ Paul Garrahan
William Grantham**                                   Paul Garrahan*
   Assistant Attorney General                           Attorney-in-Charge
408 Galisteo Street                                  Natural Resources Section
Santa Fe, NM 87501                                   Oregon Department of Justice
(505) 717-3520                                       1162 Court Street NE
wgrantham@nmdoj.gov                                  Salem, OR 97301-4096
                                                     (503) 947-4540
Counsel for the State of New Mexico                  Paul.Garrahan@doj.oregon.gov

                                                     Counsel for the State of Oregon




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PETER F. NERONHA                                   NICHOLAS W. BROWN
  Attorney General of Rhode Island                   Attorney General of Washington

By: /s/ Nicholas M. Vaz                            By: /s/ Yuriy Korol
Nicholas M. Vaz, BBO No. 693629                    Yuriy Korol*
   Special Assistant Attorney General                 Assistant Attorney General
Office of the Attorney General                     Washington Attorney General’s Office
Environmental and Energy Unit                      Environmental Protection Division
150 South Main Street                              800 5th Ave Ste. 2000 TB-14
Providence, RI 02903                               Seattle, WA 98104-3188
(401) 274-4400 ext. 2297                           (206) 332-7098
nvaz@riag.ri.gov                                   Yuriy.Korol@atg.wa.gov

Counsel for the State of Rhode Island              Counsel for the State of Washington




*admitted pro hac vice
**pro hac vice application forthcoming




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              CERTIFICATE OF SERVICE & RULE 7.1 CERTIFICATION

        I, Michael J. Myers, certify that this document was filed through the CM/ECF system and
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                                                             Michael J. Myers




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